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                       IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, SOUTHERN DIVISION


LARRY WATSON,
                                                                RULING & ORDER
               Plaintiff,
                                                               Case No. 4:18-cv-00057
       v.
                                                                Judge David Nuffer
UTAH HIGHWAY PATROL, BARTON
BLAIR, SHAWN HINTON, DAN                                 Magistrate Judge Dustin B. Pead
FERGUSON, CHRIS TERRY, UHP POST
and ALEX GARCIA

               Defendants.



                                           INTRODUCTION

       This case is before Magistrate Judge Dustin Pead pursuant to a 28 U.S. C. §636(b)(1)(B)

referral from District Court Judge David Nuffer. (ECF No. 9.) On September 6, 2018, Plaintiff

Larry Watson (Plaintiff or Watson) filed his civil rights complaint against Defendants Utah

Highway Patrol, Barton Blair, Shawn Hinton, Dan Ferguson, Christ Terry, UHP Post and Alex

Garcia (Defendants). (ECF No. 1.) In conjunction therewith, Watson filed the following motions:

“motion for appointment of counsel” (ECF No. 2), “motion for injunction to prevent UHP from

investigating itself or any of its officers” (ECF No. 3), “motion for injunction to prevent Utah

and UHP from searching citizen’s vehicles by merely saying they smell alcohol and/or drugs”

(ECF No. 4), “motion to protect all citizens from false and illegal searches by police in the UHP”
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(ECF No. 5), “motion to test ‘substance’ taken from plaintiff’s car” (ECF No. 6), “motion to

exclude witnesses and Defendants from court while other Witnesses and Defendants are

testifying” (ECF No. 7) and “motion to allow Plaintiff to bring to court Weiner dog anal glad

‘substance’ and a small amount of pot to test Chris Terry’s stated ability to smell pot over two

Weiner dog’s anal glands.” (ECF No. 8.)

                                          PENDING MOTIONS

       Plaintiff’s Motion For Appointment Of Counsel

       In a civil matter, “[t]he burden is upon the applicant to convince the court that there is

sufficient merit to his claim to warrant the appointment of counsel.” McCarthy v. Weinberg, 753

F.2d 836, 838 (10th Cir. 1985). When determining whether to appoint counsel, the court should

consider a variety of factors, “including ‘the merits of the litigant’s claims, the nature of the

factual issues raised in the claims, the litigant’s ability to present his claims, and the complexity

of the legal issues raised by the claims.’” Rucks v. Boergermann, 57 F.3d 978, 979 (10th Cir.

1995) (quoting Williams v. Meese, 926 F.2d 994, 996) (10th Cir. 1991).

       Mr. Watson seeks appointment of counsel based on the severity of Defendants’ actions

and his physical suffering stemming from a painful condition, “CRPS”. 1 Plaintiff only requests,

however, “ ‘some’ assistance should this case go to trial” because he “is unable to place his feet

on the floor without severe pain”. (ECF No. 2.) This case is in its infancy. At this juncture, it is


       1
         CRPS or “Complex Regional Pain Syndrome” is a “form of chronic pain that usually affects an
arm or leg” and “typically develops after an injury, a surgery , a stroke or a heart attack.
www.mayoclinic.org/diseases-conditions/complex-regional-pain-syndrome/symptoms-causes/syc-
20371151 (last visited September 14, 2008).
                                                   2
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unknown whether the matter will proceed to trial or be resolved at an earlier stage. Accordingly,

the court denies Mr. Watson’s motion for appointment of counsel without prejudice. (ECF No.

2.) As the case develops further and if it appears that counsel may be of assistance, Mr. Watson

may renew his motion for appointment.

       Plaintiff’s Remaining Motions.

       Mr. Watson filed his complaint on September 6, 2018. (ECF No. 1.) On the same day he

filed his pending “motion for injunction to prevent UHP from investigating itself or any of its

officers” (ECF No. 3), “motion for injunction to prevent Utah and UHP from searching citizen’s

vehicles by merely saying they smell alcohol and/or drugs” (ECF No. 4), “motion to protect all

citizens from false and illegal searches by police in the UHP” (ECF No. 5), “motion to test

‘substance’ taken from plaintiff’s car” (ECF No. 6), “motion to exclude witnesses and

Defendants from court while other Witnesses and Defendants are testifying” (ECF No. 7), and

“motion to allow Plaintiff to bring to court Weiner dog anal glad ‘substance’ and a small amount

of pot to test Chris Terry’s stated ability to smell pot over two Weiner dog’s anal glands.” (ECF

No. 8) (collectively, “remaining motions”).

       A complaint “is the initial pleading that commences a civil action.” DUCivR 3-5; see

Fed. R. Civ. P. 4. Once a complaint is filed, plaintiff is required to serve the complaint and

summons on all named Defendants within the time allowed under the federal rules. See Fed. R.

Civ. P. 4(c), Fed. R. Civ. P. 4(m). Here, Mr. Watson must serve his “complaint on all Defendants

before the action can proceed” and the court is prohibited from issuing any rulings on motions or


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granting “any injunctive relief before the adverse part[ies have] had an opportunity to be heard.”

America’s Home Retention Servs. v. Castle Stawiarski, LLC, 2012 U.S. Dist. LEXIS 93436 * 10

(D. Colo. 2012). Accordingly, Plaintiff’s remaining motions are premature and denied without

prejudice.

                                             ORDER

       Accordingly, as set forth above, the Court ORDERS as follows:

       1. Mr. Watson’s motion for appointment of counsel is DENIED. (ECF No. 2); and

       2. Mr. Watson’s “motion for injunction to prevent UHP from investigating itself or any of

its officers” (ECF No. 3), “motion for injunction to prevent Utah and UHP from searching

citizen’s vehicles by merely saying they smell alcohol and/or drugs” (ECF No. 4), “motion to

protect all citizens from false and illegal searches by police in the UHP” (ECF No. 5), “motion

to test ‘substance’ taken from plaintiff’s car” (ECF No. 6), “motion to exclude witnesses and

Defendants from court while other Witnesses and Defendants are testifying” (ECF No. 7), and

“motion to allow Plaintiff to bring to court Weiner dog anal glad ‘substance’ and a small amount

of pot to test Chris Terry’s stated ability to smell pot over two Weiner dog’s anal glands” (ECF

No. 8) are DENIED without prejudice as premature.

       SO ORDERED this 18th day of September, 2018.

                                             BY THE COURT:


                                             Dustin B. Pead
                                             U.S. Magistrate Judge


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